EXHIBIT 1
Publication Title    Issue Vol.   First         © Owner   © Reg No.
                     No.   No.    Publication
                                  Date
Amazing Fantasy      #15   1      6/5/1962      MCI       B976775
Amazing Spider-Man   #1    1      12/10/1962    MCI       B12112
Amazing Spider-Man   #2    1      2/12/1963     MCI       B22020
Amazing Spider-Man   #3    1      4/9/1963      MCI       B32700
Amazing Spider-Man   #4    1      6/11/1963     MCI       B45564
Amazing Spider-Man   #5    1      7/9/1963      MCI       B50165
Amazing Spider-Man   #6    1      8/8/1963      MCI       B57887
Amazing Spider-Man   #7    1      9/10/1963     MCI       B63121
Amazing Spider-Man   #8    1      10/8/1963     MCI       B72284
Amazing Spider-Man   #9    1      11/12/1963    MCI       B72337
Amazing Spider-Man   #10   1      12/9/1963     MCI       B79629
Amazing Spider-Man   #11   1      1/10/1964     MCI       B86108
Amazing Spider-Man   #12   1      2/11/1964     MCI       B93262
Amazing Spider-Man   #13   1      3/10/1964     MCI       B96821
Amazing Spider-Man   #14   1      4/9/1964      MCI       B102930
Amazing Spider-Man   #15   1      5/12/1964     MCI       B112138
Amazing Spider-Man   #16   1      6/9/1964      MCI       B127533
Amazing Spider-Man   #17   1      7/9/1964      MCI       B121808
Amazing Spider-Man   #18   1      8/11/1964     MCI       B129017
Amazing Spider-Man   #19   1      9/8/1964      MCI       B136435
Amazing Spider-Man   #20   1      10/8/1964     MCI       B140632
Amazing Spider-Man   #21   1      11/10/1964    MCI       B147192
Amazing Spider-Man   #22   1      12/10/1964    MCI       B157768
Amazing Spider-Man   #23   1      1/12/1965     MCI       B162019
Amazing Spider-Man   #24   1      2/11/1965     MCI       B167575
Amazing Spider-Man   #25   1      3/11/1965     MCI       B173323
Publication Title           Issue Vol.      First         © Owner   © Reg No.
                            No.   No.       Publication
                                            Date
Amazing Spider-Man          #26    1        4/8/1965      MCI       B179808
Amazing Spider-Man          #27    1        5/11/1965     MCI       B190434
Amazing Spider-Man          #28    1        6/8/1965      MCI       B196230
Amazing Spider-Man          #29    1        7/8/1965      MCI       B200698
Amazing Spider-Man          #30    1        8/10/1965     MCI       B208267
Amazing Spider-Man          #31    1        9/9/1965      MCI       B215968
Amazing Spider-Man          #32    1        10/12/1965    MCI       B229417
Amazing Spider-Man          #33    1        11/11/1965    MCI       B229427
Amazing Spider-Man          #34    1        12/9/1965     MCI       B238351
Amazing Spider-Man          #35    1        1/11/1966     MCI       B241516
Amazing Spider-Man          #36    1        2/10/1966     MCI       B248224
Amazing Spider-Man          #37    1        3/10/1966     MCI       B251737
Amazing Spider-Man          #38    1        4/12/1966     MCI       B257745
The Fantastic Four Annual   #1     1        7/2/1963      MCI       A645698
Strange Tales Annual        #2     1        6/11/1963     MCI       A640416
Amazing Spider-Man          #1     1                      MCI       A713458
                                            6/11/1964
Annual
Amazing Spider-Man          #2     1                      MCI       A772745
                                            6/1/1965
Annual
Strange Tales               #102       1    8/9/1962      MCI       B988507
Strange Tales               #103       1    9/11/1962     MCI       B992202
Strange Tales               #104       1    10/9/1962     MCI       B999792
Strange Tales               #105       1    11/8/1962     MCI       B6037
Strange Tales               #106       1    12/10/1962    MCI       B12120
Strange Tales               #107       1    1/10/1963     MCI       B17484
Strange Tales               #108       1    2/12/1963     MCI       B22022
Strange Tales               #109       1    3/12/1963     MCI       B28143



                                           -2-
Publication Title   Issue Vol.    First         © Owner   © Reg No.
                    No.   No.     Publication
                                  Date
Strange Tales       #110    1     4/9/1963      MCI       B34036
Strange Tales       #111    1     5/9/1963      MCI       B38264
Strange Tales       #112    1     6/11/1963     MCI       B45565
Strange Tales       #113    1     7/9/1963      MCI       B51854
Strange Tales       #114    1     8/8/1963      MCI       B57888
Strange Tales       #115    1     9/10/1963     MCI       B66036
Strange Tales       #116    1     10/8/1963     MCI       B66782
Strange Tales       #117    1     11/12/1963    MCI       B72341
Strange Tales       #118    1     12/9/1963     MCI       B79628
Strange Tales       #119    1     1/10/1964     MCI       B86103
Strange Tales       #120    1     2/11/1964     MCI       B93261
Strange Tales       #121    1     3/10/1964     MCI       B96828
Strange Tales       #122    1     4/9/1964      MCI       B102931
Strange Tales       #123    1     5/12/1964     MCI       B112132
Strange Tales       #124    1     6/9/1964      MCI       B127512
Strange Tales       #125    1     7/9/1964      MCI       B121798
Strange Tales       #126    1     8/11/1964     MCI       B129014
Strange Tales       #127    1     9/8/1964      MCI       B136445
Strange Tales       #128    1     10/8/1964     MCI       B140634
Strange Tales       #129    1     11/10/1964    MCI       B147181
Strange Tales       #130    1     12/10/1964    MCI       B157772
Strange Tales       #131    1     1/12/1965     MCI       B162016
Strange Tales       #132    1     2/11/1965     MCI       B167564
Strange Tales       #133    1     3/11/1965     MCI       B173315
Strange Tales       #134    1     4/8/1965      MCI       B179809
Strange Tales       #135    1     5/4/1965      MCI       B190436



                                 -3-
Publication Title   Issue Vol.    First         © Owner   © Reg No.
                    No.   No.     Publication
                                  Date
Strange Tales       #136    1     6/8/1965      MCI       B196229
Strange Tales       #137    1     7/8/1965      MCI       B200686
Strange Tales       #138    1     8/10/1965     MCI       B208272
Strange Tales       #139    1     9/9/1965      MCI       B215981
Strange Tales       #140    1     10/12/1965    MCI       B229414
Strange Tales       #141    1     11/11/1965    MCI       B229431
Strange Tales       #142    1     12/9/1965     MCI       B238352
Strange Tales       #143    1     1/11/1966     MCI       B241519
Strange Tales       #144    1     2/10/1966     MCI       B248225
Strange Tales       #145    1     3/10/1966     MCI       B251650
Strange Tales       #146    1     4/12/1966     MCI       B257744
Strange Tales       #147    1     5/10/1966     MCI       B277438




                                 -4-
